  8:09-cr-00215-LSC-FG3             Doc # 62   Filed: 08/18/09      Page 1 of 2 - Page ID # 95




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )                      8:09CR58
       vs.                                        )
                                                  )              ORDER ON MOTION
ERIK MARCO GARCIA-BARTOLO,                        )            TO CONSOLIDATE CASES
                                                  )
                       Defendant.                 )


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )                     8:09CR193
       vs.                                        )
                                                  )              ORDER ON MOTION
ERIK GARCIA BARTOLO,                              )            TO CONSOLIDATE CASES
                                                  )
                       Defendant.                 )


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
       vs.                                        )                     8:09CR215
                                                  )
LORENZO REYES,                                    )              ORDER ON MOTION
GIAVANA CARRILLO,                                 )            TO CONSOLIDATE CASES
MARIA PASILLAS CASTANEDA, and                     )
ERIK GARCIA BARTOLO,                              )
                                                  )
                       Defendants.                )


      This matter is before the court on the motion of defendant, Erik Marco Garcia-Bartolo
(named in Cases Nos. 8:09CR193 and 8:09CR215 as Erik Garcia Bartolo) to consolidate the
above-captioned cases. Counsel for the United States does not object. Response time has
passed, and the codefendants in Case No. 8:09CR215 filed no objection or response.

       Upon review of the file, the court finds that the requirements of Rule 8 and 13 of the Federal
Rules of Criminal Procedure have been met and the interests of justice are best served by joinder.
  8:09-cr-00215-LSC-FG3          Doc # 62      Filed: 08/18/09      Page 2 of 2 - Page ID # 96




       IT IS ORDERED:

      1. The Motion to Consolidate Cases (#31 in 8:09CR58, #15 in 8:09CR193, and #58 in
8:09CR215) is granted.

      2. The Clerk shall amend the records of the court to show that Cases Nos. 8:09CR58,
8:09CR193 and 8:09CR215 are consolidated for all further proceedings.

        3. The cases will be set for trial, in accordance with the Speedy Trial Act, by further order
of the court.

       DATED August 18, 2009.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge




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